
		
				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2022 OK 55Case Number: SCBD-7261Decided: 06/06/2022As Corrected: June 9, 2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 55, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2022 DUES



ORDER OF SUSPENSION FOR NONPAYMENT OF DUES



On May 24, 2022, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2022 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on April 15, 2022, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2022. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2022 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 6TH DAY OF JUNE, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A

(DUES -- SUSPEND)

Gordon Lynn Burch III, OBA No. 14986
3101 N.W. 21st St.
Oklahoma City, OK 73107-3009

Jonathan Charles Curth,
OBA No. 31442
5800 Granite Pkwy., Ste. 550
Plano, TX 75024

Lindsey Marie Everett, OBA No. 32227
5801 E. 41st St., Ste. 300
Tulsa, OK 74135

William Shawn Jefferson,
OBA No. 20250
210 Park Ave., Ste. 2125
Oklahoma City, OK 73102

Ronald Christopher Kaufman,
OBA No. 17657
1611 S. Utica Ave.
Tulsa, OK 74104

Pamela Jean Kimbrough,
OBA No. 12738
18 N.W. 35th St.
Lawton, OK 73505

Melissa Ann Lipe, OBA No. 19437
P.O. Box 3981
Edmond, OK 73083

Samuel Dean Ott, OBA No. 6813
18914 Thunder Ridge
Norman, OK 73072

Suzanne Reed Phillips, OBA No. 30213
2862 Valentia St.
Denver, CO 80238

Pamela M. Snider, OBA No. 14021
1523 N. Oklahoma Ave.
Shawnee, OK 74804-3848

Geoffrey Wood Storm, OBA No. 32204
1401 Lawrence St., Ste. 1800
Denver, CO 80202

Derek B. Norris, OBA No. 31673
1433 Rockland Ave.
Pittsburgh, PA 15216

Sherry Abbott Todd, OBA No. 13389
3062 S.E. 37th St.
Norman, OK 73072-8909

Kevin Mark Vincent, OBA No. 32210
4332 Royal Ridge Dr.
Dallas, TX 75225-5462

Jeri L. Jones, OBA No. 18084
1209 E. Boston St.
Broken Arrow, OK 74012

Marianne Shimanek Ratliff, OBA No. 11969
813 Landsdowne Dr.
Norman, OK 73072

Edward David Ellis, OBA No. 2691
101 W. Houston
Paris, TX 75460

La Mer Kyle-Griffiths, OBA No. 34103
567 E. 36th St. N
Tulsa, OK 74106

Johnnie Brent Baker, OBA No. 447
1811 Berring, Ste. 400
Houston, TX 77057

Michael W. Hinkle, OBA No. 4227
P.O. Box 6956
Edmond, OK 73083

Kathleen Therese Ralston,
OBA No. 19917
418 W. Juniper Dr.
Mustang, OK 73064

Gary Lynn Porter, OBA No. 14572
P.O. Box 20688
Oklahoma City, OK 73156-0688

Donald L. McCorkell, Jr., OBA No. 5909
979 Chelham Way
Montecito, CA 93103

Amanda Leigh Thrash, OBA No. 21844
15 West 6th St., Ste. 900
Tulsa, OK 74119

Scott Andrew Rosiere, OBA No. 18455
2097 Red Oak Ln.
Liberty, MO 64068

Kimberly N. Clark, OBA No. 18335
One Plaza South, PMB 303
Tahlequah, OK 74464

Lance Alan Felactu, OBA No. 16491
21456 Lynn Dr.
Lexington Park, MD 20653

Krystal J. Godines Camarillo,
OBA No. 32234
1040 W. Boyd St.
Norman, OK 73069

Jessica Justine Scruggs,
OBA No. 30423
3621 Meadow Lark Lane
Oklahoma City, OK 73120

John Edward Collins, OBA No. 14205
2008 Dartmouth Ln.
Corsicana, TX 75110

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